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                                     CRIMINAL COVERSHEET
     DEFENDANT’S NAME: Brooks Roberts                                     JUVENILE: No
     DEFENSE ATTORNEY:
                Address:                                        PUBLIC or SEALED: Public
                                                                     SERVICE TYPE: Summons
                                                              (Summons or Warrant or
                                                               Notice (if Superseding))
                Telephone No.:                                                  ISSUE: Yes


  INVESTIGATIVE AGENT: Clayton Albright                              INTERPRETER: No
           Telephone No.: (208) 392-6681                            If YES, language:
               AGENCY: Forest Service
CASE INFORMATION:                                           RELATED COMPLAINT: No
                                                            CASE NUMBER:


                             CRIMINAL CHARGING INFORMATION

  CHARGING DOCUMENT: Information
                     Felony:            No               County of Offense: Boise
       Class A Misdemeanor:             No             Estimated Trial Time: 1 day
   Class B or C Misdemeanor:            Yes
                   (Petty Offense)
                                       COUNT/                                         PENALTIES
          STATUTE
                                     FORFEITURE    BRIEF DESCRIPTION           (Include Supervised Release
    (Title and Section(s))           ALLEGATION                                  and Special Assessment)
   36 C.F.R. § 261.11(b)                ONE        Possessing or Leaving      Up to a $5,000 fine and $10
                                                  Refuse, Debris, or Litter   Special Assessment
                                                     in an Exposed or
                                                   Unsanitary Condition

   36 C.F.R. § 261.58(a)                TWO       Camping for Longer than Up to a $5,000 fine and $10
                                                         14 days          Special Assessment


  Date:      10 August 2021                   Assistant U.S. Attorney: PETER L. WUCETICH
                                                       Telephone No.: (208) 334-1211
